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       Attorney for Eric Malone

       IJNIThD STATES                       )       UNITED STATES DISTRICT COURT
                                                    FOR THE DISTRICT OP NEW JERSEY

                                            )
                                                    DOCKBT NO 08-327 (SRC)


       ERIC MAlONE                          )       ORDER EXThNDING
                                                    SURRENDER DATE



                This matter having come before the Court on the motion of defendant Eric
       Malone, by his attorney Donald F, Manno, Esq. for an order extending the time to
       surrender on the sentence imposed by this Court on February 10, 201 1; and the United
       States by Assistant United States Attorney Boidan Vitvitsky, Esq. having no objection;
       and this extension being necessary because Mi, Malone has not yet been sentenced in the
       matter where he has plead gutlty in EDNY. and sentencing currently being scheduled for
       October 26 20 I, having been postponed for the convenience of the Court without the
       consent or request of Mr. Malone; and this Court havin,g previously directed Mr. Malone
       to self surrender on October 15, 2011; and for good cause shown:

              IT IS ON THIS   / /day of October, 20 ii;
                ORDERED that Eric Malone shall surrender on October 28, 201 1 to the
       institution designated by the United States Bureau of Prisons.




                                            ‘-lONORABLE S’ANLE             CHESLER
                                            United States District Judge

      I consent to the fOrju.: content of this order.



       onald F. Manno Esq.                            h air Vitvitsky, Faq.
      Attorney for Eric Malone                      Assistant U. S. Attorney
